

People v Rogers (2020 NY Slip Op 06022)





People v Rogers


2020 NY Slip Op 06022


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Friedman, J.P., Kern, Scarpulla, Shulman, JJ. 


Ind No. 3975/14 3975/14 Appeal No. 12151 Case No. 2017-2875 

[*1]The People of the State of New York, Respondent,
vBryan Rogers, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Allen Fallek of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Susan Axelrod of counsel), for respondent.



Judgment, Supreme Court, New York County (A. Kirke Bartley, Jr., J.), rendered January 4, 2017, convicting defendant, after a jury trial, of murder in the second degree and two counts of criminal possession of a weapon in the second degree, and sentencing him to an aggregate term of 25 years to life, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations, including its resolution of alleged inconsistencies in testimony.
The court providently exercised its discretion in permitting the People to introduce limited rebuttal testimony from several witnesses, even if some of the evidence "was not technically of a rebuttal nature but more properly a part of the offering party's direct case" (CPL 260.30[7]; People v Harris, 57 NY2d 335, 345 [1982], cert denied 460 US 1047 [1983]). This evidence was responsive to issues raised on defendant's case (see e.g. People v Davis, 298 AD2d 286 [1st Dept 2002], lv denied 99 NY2d 557 2002]. In any event, defendant was not unduly prejudiced by any of the rebuttal testimony.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








